Case 2:15-cv-00381-JRG-RSP Document 13 Filed 09/10/15 Page 1 of 2 PageID #: 66



                   IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF TEXAS

                                MARSHALL DIVISON

 LESTER GLOVER,                     §
                                    §
    Plaintiff,                      §
                                    §         CIVIL ACTION NO.
 VS.                                §
                                    §
 GOVERNMENT EMPLOYEES               §            2:15-CV-381
 INSURANCE COMPANY                  §
                                    §
   Defendant.                       §
________________________________________________________________________

          ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION
               TO DISMISS ALL CLAIMS WITH PREJUDICE
 _______________________________________________________________________

        On this day came on to be considered Plaintiff’s Unopposed Motion to Dismiss all

Claims with Prejudice. After careful consideration, the Court is of the opinion that the

motion should be granted.

It is therefore

        ORDERED that the above motion is GRANTED.

It is further

        ORDERED that each and every claim asserted by Plaintiff Lester Glover is

hereby DISMISSED WITH PREJUDICE.




                                        Page 1 of 2
Case 2:15-cv-00381-JRG-RSP Document 13 Filed 09/10/15 Page 2 of 2 PageID #: 67



It is further

        ORDERED each party shall bear its own costs and fees.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 10th day of September, 2015.




                                                ____________________________________
                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE




                                       Page 2 of 2
